            Case 1:04-cv-00042-RP Document 239 Filed 08/10/21 Page 1 of 1




                          UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF TEXAS
                                 AUSTIN DIVISION

SCOTT LOUIS PANETTI,                          §
                                              §
                     Petitioner,              §
                                              §
v.                                            §     CIVIL ACTION NO. A-04-CA-042-RP
                                              §
BOBBY LUMPKIN, Director,                      §          * DEATH PENALTY CASE *
Texas Department of Criminal Justice,         §
Correctional Institutions Division,           §
                                              §
                     Respondent.              §

                                ORDER REOPENING CASE

       On October 22, 2018, this Court granted Petitioner’s Unopposed Motion for Stay and

Abeyance to allow him to return to state court for exhaustion purposes. (ECF No. 208). For this

reason, Petitioner’s federal habeas proceedings were administratively closed until Petitioner

returned to this Court following the conclusion of his state habeas proceedings. (ECF No. 237).

On August 9, 2021, Petitioner filed an advisory with the Court stating that his state habeas

proceedings had concluded.

       Accordingly, it is hereby ORDERED that the stay and abeyance previously granted by

this Court (ECF Nos. 208, 237) is LIFTED and this case is now REOPENED for administrative

purposes.

       SIGNED this 10th day of August, 2021.



                                                   ROBERT PITMAN
                                                   UNITED STATES DISTRICT JUDGE
